      Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 1 of 44 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MEDIA BANK, LLC,                                   )
                                                    )
                        Plaintiff,                  )
                                                    )
        v.                                          )   Case No.
                                                    )
 SCOTTeVEST, INC.,                                  )
                                                    )
                        Defendant.                  )

                                          COMPLAINT

       Plaintiff, MEDIA BANK, LLC, by its attorneys Levenfeld Pearlstein, LLC, and for its

Complaint against Defendant, SCOTTeVEST, Inc. (“Defendant”), states as follows:

                                     NATURE OF THE CASE

       This is an action by Media Bank, LLC to recover sums due and owing to it from Defendant

for services rendered pursuant to written agreements by and between the parties, and in the

alternative, under a theory of unjust enrichment.

                                         THE PARTIES

       1.      Media Bank, LLC is a limited liability company organized under the laws of the

State of Delaware with its principal place of business in Chicago, Illinois. At all relevant times,

Media Bank, LLC conducted business as “MBuy” (hereinafter, “MBuy”).

       2.      MBuy is engaged in the business of media planning and purchasing. MBuy works

with its clients, prospective advertisers, to plan, evaluate and optimize media purchases across the

spectrum of platforms and channels, including television, radio, print, digital and social media.

       3.      Defendant is a corporation limited liability company organized under the laws of

the State of Idaho, with its headquarters located in Ketchum, Idaho.
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        4.      Defendant is engaged in the business of marketing and selling “SCOTTeVEST”

branded outerwear and garments that feature a series of pockets designed to hold an array of

electronic devices and other gadgets. “SCOTTeVEST” branded outerwear and garments are sold

through      retail   resellers,    as    well     as    through   Defendant’s     own      website

(https://www.scottevest.com/).

                                   JURISDICTION AND VENUE

        5.      Media Bank, LLC’s sole member is MediaOcean, LLC, a Delaware limited liability

company with its principal place of business in New York. MediaOcean’s sole member is a New

York corporation also headquartered in New York.

        6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332(a) because of the diversity of citizenship between the parties (Media Bank, LLC is deemed

a resident of Delaware, Illinois and New York, while Defendant is deemed a resident of Idaho),

and because the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

        7.      Venue is appropriate in this district pursuant to 28 U.S.C. §1391 pursuant to the

terms of an express written agreement between the parties. Moreover, Defendant regularly does

business in Illinois, is registered to do business in Illinois, and a substantial part of the events

giving rise to the claim occurred within this judicial district.

                             FACTS COMMON TO ALL COUNTS

        8.      In or about June 2018, Defendant engaged MBuy to assist it with the planning and

purchase of media for what, at the time, was projected to be a multi-million-dollar nationwide

advertising campaign.

        9.      On June 4, 2018, the parties executed an “MBuy Authorization” (a form that has

since been renamed a “Mutual Business Agreement”) to “clearly establish the roles and

responsibilities of the parties involved in the planning, negotiation, and purchasing of media

                                                   2
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inventory.” A true and correct copy of the MBuy Authorization is submitted herewith as Exhibit

A.

        10.        The MBuy Authorization was executed on behalf of Defendant by Marshall Rule,

its President at the time.

        11.        Among other things, the executed MBuy Authorization reflects the parties mutual

understanding regarding certain basic terms of the engagement:

              a.    the initial term (6/4/18 – 12/31/18);

              b.    the general services that MBuy would be providing to Defendant;

              c.    the fees that would be charged by MBuy (based upon percentages of the
                    purchases of varying types of media), and the Defendant’s obligation to pay those
                    fees; and

              d.    an approximation and allocation of the Defendant’s planned media purchases
                    during the term.

        12.        The MBuy Authorization also expressly advised that the “next step” would be the

execution of an “Insertion Order,” containing the details surrounding a proposed advertising spend,

and expressly requesting authorization for specific media purchases.

        13.        Pursuant to the MBuy Authorization, MBuy prepared and presented Defendant

with two separate Insertion Orders, the first in August 2018 and the second in December 2018. A

true and correct copy of the 2018 Insertion Orders are submitted herewith as Group Exhibit B.

        14.        The August 2018 Insertion Order specifically sought authorization from Defendant

for various media purchases to “run” from September 1, 2018 to December 31, 2018.

        15.        The December 2018 Insertion Order specifically sought authorization from

Defendant for a media purchase to run from December 14-31, 2018.

        16.        Notably, each of the Insert Orders contain the following terms:




                                                    3
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     INSERTION ORDER TERMS

     General Placement Guidelines & Limitations of Liability
     MBuy is not responsible for incorrect ad materials run when ad materials or instructions
     are not received by the ad material deadline. MBuy does not make corrections to ad
     creative. All ad creative must be submitted in final format. MBuy will not be held
     responsible for incorrect and/or invalid creative materials that are submitted from a
     previous placement. This agreement, along with the mutually signed Mutual Business
     Agreement and terms and conditions at www.mbuy.com/tc, which are incorporated by
     reference, contain the entire agreement of the parties and supersedes all prior
     discussions, agreements and undertakings between the parties with respect to the
     subject matter hereof; this Insertion Order supersedes inconsistent terms in the terms
     and conditions.

                     *                  *                 *                  *
     Payment Terms
     Payment to MBuy must be received by the payment terms selected below. In the event
     Advertiser and/or Advertiser Agency (collectively, “Advertiser-Purchaser”), as the case
     may be, fails to make payment, MBuy may discontinue all Ads until payment is received
     in full. A completed and signed Insertion Order constitutes a binding agreement between
     Advertiser-Purchaser and MBuy and shall guarantee advertising rates for the period
     identified in this document. Upon execution of the media buy between MBuy and the
     media vendor(s)/Publisher, MBuy has fully performed its obligation to purchase media on
     behalf of the customer. By signing the Agreement the Advertiser-Purchaser agrees to all
     conditions stated in this Insertion Order, as well as the terms and conditions available
     at www.mbuy.com/tc (the “TC”). The Advertiser-Purchaser acknowledges and
     understands: (i) MBuy will not and shall not be required to make any payments on behalf
     of the Advertiser-Purchaser until MBuy receives all funds payable and/or due to it and (ii)
     fees owed to MBuy directly will be paid first and the remainder of the funds will be used
     to make payments on behalf of the Advertiser-Purchaser for the media costs. All
     capitalized terms used in this Insertion Order and not otherwise defined herein shall have
     the meaning ascribed to them in the TC.

     Agreement to Terms
     The signature & date below constitutes acceptance of the terms of this Insertion Order
     and the individual signing represents and warrants that he/she has authority to sign
     this Insertion Order on behalf of the above listed Advertiser and, if applicable, the
     Advertiser-Agency.

Group Exhibit B, page 2 of 3 (emphasis added).

       17.    The complete “terms and conditions” incorporated by reference into the Insertion

Orders were at all times available to Defendants. A true and correct copy of the terms and

conditions as they appeared at the time at www.mbuy.com/tc is submitted herewith as Exhibit C.


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       18.     On information and belief, Defendant reviewed the terms and conditions at

www.mbuy.com/tc prior to executing the 2018 Insertion Orders.

       19.     Both of the 2018 Insertion Orders were executed by Marshall Rule on behalf of the

Defendant in his capacity as its President.

       20.     The total media purchase authorized by the Defendant in connection with the

August 2018 Insertion Order was $815,000.

       21.     MBuy executed all of the authorized purchases identified in the August 2018

Insertion Order, all of which ran as contemplated.

       22.     The media purchase authorized by the Defendant in connection with the December

2018 Insertion Order was $15,000.

       23.     MBuy executed the authorized purchases identified in the December 2018 Insertion

Order, all of which ran as contemplated.

       24.     Following the expiration of the initial term of the MBuy Authorization, on January

8, 2019, the parties entered into a Mutual Business Agreement (in the same form as its predecessor

form, the MBuy Authorization) for the calendar year 2019 and a contemplated $5,000,000

advertising campaign. A true and correct copy of the Mutual Business Agreement is submitted

herewith as Exhibit D.

       25.     The Mutual Business Agreement was executed by Marshall Rule on behalf of the

Defendant in his capacity as its President.

       26.     Pursuant to the Mutual Business Agreement, MBuy prepared and presented

Defendant with an Insertion Order specifically seeking authorization from Defendant for various

media purchases to “run” from January 1, 2019 to January 31, 2019. A true and correct copy of

the 2018 Insertion Orders are submitted herewith as Exhibit E.



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       27.     The January 2019 Insertion Order had the same terms as those set forth in paragraph

15 above, and incorporated by reference the complete terms and conditions set forth in Exhibit C.

       28.     The January 2019 Insertion Order was executed by Marshall Rule on behalf of the

Defendant in his capacity as its President.

       29.     The media purchase authorized by the Defendant in connection with the January

2019 Insertion Order was $115,000. MBuy executed all of the authorized purchases identified in

the January 2019 Insertion Order, all of which ran as contemplated.

       30.     By invoice dated January 11, 2019, MBuy requested payment of $219,681.88 for

media purchases in December 2018, most of which represented MBuy’s “hard costs” payable to

third party media. A true and correct copy of the Invoice is submitted herewith as Exhibit F.

       31.     By invoice dated January 14, 2019, MBuy requested payment of $104,292.21 for

media purchases in January 2019, most of which represented MBuy’s “hard costs” payable to third

party media. A true and correct copy of the Invoice is submitted herewith as Exhibit G.

       32.     The invoices were payable within 30 days.

       33.     Defendant did not pay either of the referenced invoices in a timely fashion.

       34.     Despite repeated demands for payment, Defendant has failed and refused to pay the

invoiced amounts.

             COUNT I – BREACH OF CONTRACT (2018 INSERTION ORDERS)

       35.     MBuy incorporates by reference paragraphs 1-34 above.

       36.     The 2018 Insertion Orders prepared for and presented to Defendant constitute an

offer by MBuy to perform services pursuant to the terms set forth therein and incorporated by

reference from www.mbuy.com/tc (Exhibit C), as well as the MBuy Authorization (Exhibit A).




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         37.     By executing the 2018 Insertion Orders, Defendant accepted the offer described

above.

         38.     There was consideration exchanged in the form of mutual promises by and between

the parties as described above, thereby supporting the formation of a valid and enforceable contract

(or contracts) based upon the terms set forth above.

         39.     MBuy performed its obligations under the parties’ contract(s).

         40.     Defendant breached the contract(s) by failing to pay sums due and owing

thereunder (as reflected in the invoice submitted as Exhibit D) to MBuy.

         41.     As a direct and proximate result of Defendant’s breach of the contract(s), MBuy

has been damaged in an amount equal to at least $219,681.88.

         42.     Under these circumstances, MBuy should be entitled to and seeks an award of

prejudgment interest on the unpaid invoices pursuant to the Interest Act (815 ILCS 205/0.01 et

seq).

         43.     Finally, pursuant to the terms and condition of the contract (Exhibit C, ¶ 13.10),

MBuy is entitled to recover its attorneys’ fees and costs incurred in connection with these

proceedings.

         WHEREFORE, Media Bank, LLC respectfully requests that this Court enter judgment in

its favor and against Defendant on Count I, awarding compensatory damage in the amount of at

least $219,681.88 plus prejudgment interest, awarding Plaintiff its attorneys’ fees and costs

incurred in this litigation, and granting such other and further relief as this Court deems just and

equitable.

               COUNT II – BREACH OF CONTRACT (2019 INSERTION ORDER)

         44.     MBuy incorporates by reference paragraphs 1-43 above.



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         45.   The 2019 Insertion Order prepared for and presented to Defendant constitutes an

offer by MBuy to perform services pursuant to the terms set forth therein and incorporated by

reference from www.mbuy.com/tc (Exhibit C), as well as the Mutual Business Agreement (Exhibit

D).

         46.   By executing the 2019 Insertion Order, Defendant accepted the offer described

above.

         47.   There was consideration exchanged in the form of mutual promises by and between

the parties as described above, thereby supporting the formation of a valid and enforceable contract

based upon the terms set forth above.

         48.   MBuy performed its obligations under the parties’ contract.

         49.   MBuy breached the contract by failing to pay sums due and owing thereunder (as

reflected in the invoice submitted as Exhibit F) to MBuy.

         50.   As a direct and proximate result of Defendant’s breach of the contract, MBuy has

been damaged in an amount equal to at least $104, 292.21.

         WHEREFORE, Media Bank, LLC respectfully requests that this Court enter judgment in

its favor and against Defendant on Count II, awarding compensatory damage in the amount of at

least $104,292.21 plus prejudgment interest, awarding Plaintiff its attorneys’ fees and costs

incurred in this litigation, and granting such other and further relief as this Court deems just and

equitable.

                           COUNT III – UNJUST ENRICHMENT

         51.   Pleading in the alternative, MBuy incorporates by reference paragraphs 1-50 above.




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       52.     MBuy rendered services and incurred expenses on behalf of Defendant with a

reasonable expectation that it would be reimbursed for any such expenses incurred and would be

reasonably compensated for such services rendered.

       53.     Defendant would be unjustly enriched in the event it was permitted to retain the

referenced benefits conferred upon it without having to reimburse MBuy for the expenses incurred

on Defendant’s behalf and without having to compensate MBuy for the services it rendered to

Defendant.

       WHEREFORE, Media Bank, LLC respectfully requests that this Court enter judgment in

its favor and against Defendant on Count III, awarding damages in the amount of at least

$323,974.09, and granting such other and further relief as this Court deems just and equitable.

                                              Respectfully submitted,

                                              MEDIA BANK, LLC

                                        By:   /s/ George J. Spathis
                                              One of its Attorneys


George J. Spathis, Esq. (ARDC 6204509)
Erin M. Mayer, Esq. (ARDC 6313447)
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(312) 346-8380
gspathis@lplegal.com
emayer@lplegal.com




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   EXHIBIT A
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   EXHIBIT B
DocuSign Envelope ID: 77F07F03-A7CA-40FA-9F1A-65CEACC9647A


                                                                                                                                      120 S. Riverside Plaza, Suite 1900
                                                                                                                                                     Chicago, IL, 60606
                                                                                                                                                    Direct 312.334.2872
                                                                                                                                                       Fax 312.870.1780
                                                                                                                                                 Insertion ID: Q-06379-1
                                                             MBuy Insertion Order
                                                                   FOR IMMEDIATE ACTION
                                                                                                                                                 Advertiser PO Number:
     Advertiser Information                                                                  Billing Information
     Advertiser Name:ScotteVest                                                              Billing Name:ScotteVest
     Street Address:411 East 6th Street                                                      Street address:411 East 6th Street
     PO Box 1915                                                                             PO Box 1915
     City, State, Zip:Ketchum, Idaho, 83340                                                  City, State, Zip:Ketchum, Idaho, 83340


        Media Type      Media Description     Geography      Flight Start Date   Flight End Date                             Notes                                Media Cost

           Video       Premium Online Video    National         10/1/2018          12/31/2018                                                                    USD 53,000.00

           Social          Social Video        National         10/1/2018          12/31/2018                                                                    USD 51,029.00

           Native             Native           National         10/1/2018          12/31/2018                                                                    USD 58,031.00

           Social             FB/IG            National         10/1/2018          12/31/2018                                                                    USD 56,031.00

          Display         Brand Audience       National          9/1/2018          12/31/2018                                                                    USD 36,531.00
                            Prospecting

          Display        Dynamic Product       National          9/1/2018          12/31/2018                                                                    USD 82,000.00
                           Prospecting

         Direct Buys       Amazon AAP          National          9/1/2018          12/31/2018                                                                    USD 54,878.00

         Direct Buys         OwnerIQ           National         10/1/2018          12/31/2018                                                                    USD 75,000.00

           Search              PPC             National          9/1/2018          12/31/2018                                                                    USD 114,000.00

          Display        Brand Retargeting     National          9/1/2018          12/31/2018                                                                    USD 24,500.00

          Display        Dynamic Product       National          9/1/2018          12/31/2018                                                                    USD 82,000.00
                           Retargeting

         Direct Buys      Amazon AMG           National         10/1/2018          12/31/2018                                                                    USD 34,000.00
                                                                                                                                                                                    Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 13 of 44 PageID #:1




         Direct Buys       Amazon AMS          National          9/1/2018          12/31/2018                                                                    USD 94,000.00

                                                                                                                                             Total Media Cost:     USD 815,000.00




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                                                                                                                                                              120 S. Riverside Plaza, Suite 1900
                                                                                                                                                                             Chicago, IL, 60606
                                                                                                                                                                            Direct 312.334.2872
                                                                                                                                                                               Fax 312.870.1780
                                                                                                                                                                         Insertion ID: Q-06379-1
    INSERTION ORDER TERMS

    General Placement Guidelines & Limitations of Liability
    MBuy is not responsible for incorrect ad materials run when ad materials or instructions are not received by the ad material deadline. MBuy does not make corrections to ad creative. All ad creative
    must be submitted in final format. MBuy will not be held responsible for incorrect and/or invalid creative materials that are submitted from a previous placement. This agreement, along with the mutually
    signed Mutual Business Agreement and terms and conditions at www.mbuy.com/tc, which are incorporated by reference, contain the entire agreement of the parties and supersedes all prior discussions,
    agreements and undertakings between the parties with respect to the subject matter hereof; this Insertion Order supersedes inconsistent terms in the terms and conditions.


    Materials provided by the Advertiser to MBuy in relation to the provision of these Services do not include any personal data (as defined in the European General Data Protection Regulation) and MBuy
    does not act as a processor on behalf of the Advertiser in respect of any personal data. In cases where Advertiser requires MBuy to process personal data, Advertiser shall provide instructions to MBuy in
    writing and enter into a separate agreement regarding the processing of personal data.

    Mutual Non-Disclosure & Confidentiality Agreement
    Both parties agree all Insertion Order specific information shared, including but not limited to: rates, discounts, and/or other deliverables are deemed confidential and may not be disclosed to any third
    party.


    Payment Terms
    Payment to MBuy must be received by the payment terms selected below. In the event Advertiser and/or Advertiser Agency (collectively, “Advertiser-Purchaser”), as the case may be, fails to make
    payment, MBuy may discontinue all Ads until payment is received in full. A completed and signed Insertion Order constitutes a binding agreement between Advertiser-Purchaser and MBuy and shall
    guarantee advertising rates for the period identified in this document. Upon execution of the media buy between MBuy and the media vendor(s)/Publisher, MBuy has fully performed its obligation to
    purchase media on behalf of the customer. By signing the Agreement the Advertiser-Purchaser agrees to all conditions stated in this Insertion Order, as well as the terms and conditions available at
    www.mbuy.com/tc (the “TC”). The Advertiser-Purchaser acknowledges and understands: (i) MBuy will not and shall not be required to make any payments on behalf of the Advertiser-Purchaser until
    MBuy receives all funds payable and/or due to it and (ii) fees owed to MBuy directly will be paid first and the remainder of the funds will be used to make payments on behalf of the Advertiser-Purchaser
    for the media costs. All capitalized terms used in this Insertion Order and not otherwise defined herein shall have the meaning ascribed to them in the TC.

    Agreement to Terms
    The signature & date below constitutes acceptance of the terms of this Insertion Order and the individual signing represents and warrants that he/she has authority to sign this Insertion Order on behalf of
    the above listed Advertiser and, if applicable, the Advertiser-Agency.


    PAYMENT INFORMATION

    Pre-Paid: Due upon receipt.

    ACH                                                                  Wire Transfer                                                         Check
    Account Name: Mediaocean LLC                                         Account Name: Mediaocean LLC                                          Mediaocean LLC
                                                                                                                                                                                                                    Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 14 of 44 PageID #:1




    Routing #: 021000021                                                 Routing #: 021000021                                                  PO Box 28139
    Account #: 448661897                                                 Swift Code: Chasus33                                                  New York, NY 10087-8139
                                                                         Account #: 448661897


                                                                                                     Page 2 of 3
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    Insertion Order and Payment Authorization:
    Signed By                                                     /sn/
    Signed Date                                                   Marshall Rule
                                                                  /sd/
    Signature                                                     8/15/2018
                                                                  /sig/
                                                                                  Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 15 of 44 PageID #:1




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                                                                                                                                      120 S. Riverside Plaza, Suite 1900
                                                                                                                                                     Chicago, IL, 60606
                                                                                                                                                    Direct 312.334.2872
                                                                                                                                                       Fax 312.870.1780
                                                                                                                                                 Insertion ID: Q-07452-1
                                                             MBuy Insertion Order
                                                                   FOR IMMEDIATE ACTION
                                                                                                                                                 Advertiser PO Number:
     Advertiser Information                                                                  Billing Information
     Advertiser Name:                                                                        Billing Name:ScotteVest
     Street Address:411 East 6th Street                                                      Street address:411 East 6th Street
     PO Box 1915                                                                             PO Box 1915
     City, State, Zip:Ketchum, Idaho, 83340                                                  City, State, Zip:Ketchum, Idaho, 83340


        Media Type      Media Description     Geography      Flight Start Date   Flight End Date                             Notes                                Media Cost

          Search         incremental PPC       National        12/14/2018          12/31/2018                                                                    USD 15,000.00

                                                                                                                                             Total Media Cost:      USD 15,000.00
                                                                                                                                                                                    Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 16 of 44 PageID #:1




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                                                                                                                                                              120 S. Riverside Plaza, Suite 1900
                                                                                                                                                                             Chicago, IL, 60606
                                                                                                                                                                            Direct 312.334.2872
                                                                                                                                                                               Fax 312.870.1780
                                                                                                                                                                         Insertion ID: Q-07452-1
    INSERTION ORDER TERMS

    General Placement Guidelines & Limitations of Liability
    MBuy is not responsible for incorrect ad materials run when ad materials or instructions are not received by the ad material deadline. MBuy does not make corrections to ad creative. All ad creative
    must be submitted in final format. MBuy will not be held responsible for incorrect and/or invalid creative materials that are submitted from a previous placement. This agreement, along with the mutually
    signed Mutual Business Agreement and terms and conditions at www.mbuy.com/tc, which are incorporated by reference, contain the entire agreement of the parties and supersedes all prior discussions,
    agreements and undertakings between the parties with respect to the subject matter hereof; this Insertion Order supersedes inconsistent terms in the terms and conditions.


    Materials provided by the Advertiser to MBuy in relation to the provision of these Services do not include any personal data (as defined in the European General Data Protection Regulation) and MBuy
    does not act as a processor on behalf of the Advertiser in respect of any personal data. In cases where Advertiser requires MBuy to process personal data, Advertiser shall provide instructions to MBuy in
    writing and enter into a separate agreement regarding the processing of personal data.

    Mutual Non-Disclosure & Confidentiality Agreement
    Both parties agree all Insertion Order specific information shared, including but not limited to: rates, discounts, and/or other deliverables are deemed confidential and may not be disclosed to any third
    party.


    Payment Terms
    Payment to MBuy must be received by the payment terms selected below. In the event Advertiser and/or Advertiser Agency (collectively, “Advertiser-Purchaser”), as the case may be, fails to make
    payment, MBuy may discontinue all Ads until payment is received in full. A completed and signed Insertion Order constitutes a binding agreement between Advertiser-Purchaser and MBuy and shall
    guarantee advertising rates for the period identified in this document. Upon execution of the media buy between MBuy and the media vendor(s)/Publisher, MBuy has fully performed its obligation to
    purchase media on behalf of the customer. By signing the Agreement the Advertiser-Purchaser agrees to all conditions stated in this Insertion Order, as well as the terms and conditions available at
    www.mbuy.com/tc (the “TC”). The Advertiser-Purchaser acknowledges and understands: (i) MBuy will not and shall not be required to make any payments on behalf of the Advertiser-Purchaser until
    MBuy receives all funds payable and/or due to it and (ii) fees owed to MBuy directly will be paid first and the remainder of the funds will be used to make payments on behalf of the Advertiser-Purchaser
    for the media costs. All capitalized terms used in this Insertion Order and not otherwise defined herein shall have the meaning ascribed to them in the TC.

    Agreement to Terms
    The signature & date below constitutes acceptance of the terms of this Insertion Order and the individual signing represents and warrants that he/she has authority to sign this Insertion Order on behalf of
    the above listed Advertiser and, if applicable, the Advertiser-Agency.


    PAYMENT INFORMATION

    Net 30: Due following invoice date.

    ACH                                                                  Wire Transfer                                                         Check
    Account Name: Mediaocean LLC                                         Account Name: Mediaocean LLC                                          Mediaocean LLC
                                                                                                                                                                                                                    Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 17 of 44 PageID #:1




    Routing #: 021000021                                                 Routing #: 021000021                                                  PO Box 28139
    Account #: 448661897                                                 Swift Code: Chasus33                                                  New York, NY 10087-8139
                                                                         Account #: 448661897


                                                                                                     Page 2 of 3
DocuSign Envelope ID: 87BDC891-8108-4CBC-8466-A0B2C4159E69



    Insertion Order and Payment Authorization:
    Signed By                                                     /sn/
    Signed Date                                                   Marshall Rule
                                                                  /sd/
    Signature                                                     12/18/2018
                                                                  /sig/
                                                                                  Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 18 of 44 PageID #:1




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   EXHIBIT C
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•
                                                                                         CONTACT

    WHY MBUY       AGENCIES        DIRECT ADVERTISERS         OUR WORK          ABOUT MBUY
    THOUGHT LEADERSHIP        CONTACT US




                                Terms & Conditions

                                Unless otherwise specifically agreed to in writing by MBuy, these
                                Standard Advertising Terms and Conditions (Terms ") shall govern any
                                and all media buys, which include but are not limited to, insertion orders
                                ("IO"), requests for pricing, and the MBuy Authorization agreement(s)
                                ("MBA").The submission of an executed 10 or an MBAshall be deemed
                                consent to the Terms set forth below. Each10 and/or MBA shall, except
                                to the extent it expressly provides to the contrary, be deemed to
                                incorporate these Terms and, together with them, may be referenced
                                herein or therein as the "Agreement". Agents for one or more third
                                parties are deemed to have agreed to ensure that each third party
                                complies with these Terms as if each third party was the Agent. Each
                                Agent represents that he/she/it has the authority to bind itself and each
                                third party it represents to these Terms.

                               1. DEFINITIONS

                               1.1 "Ad" or "Advertisement" means any means any print, television,
                                 radio, out of home, and transit advertising, and shall also include digital
                                 ad placements, banners, pop-unders, pop-ups, lead generation
                                 interactions, interstitials or email content, and any other display of
                                 content provided by Agency on behalf of an Advertiser.

                               1.2 "Advertiser" meansthe individual or entity whose product or service
                                is the subject of the Ad.

                               1.3 "Advertiser-Agency" meansthe third-party Agency that is listed as
                                the agent for Advertiser under an applicable 10 and/or MBA.>

                               1.4 "Advertiser-MBuy" means an advertiser that is submitting lOs
                                directly to MBuy, without the use of an Agency.

                               1.5 "Advertiser-Agency/MBuy"          refers to, as applicable, Advertiser-
                                Agency or Advertiser-MBuy.

                               1.6 "Advertising Materials" includes any and all information, copy,
                                graphics, artwork, logos, trademarks, active URLsor other material
                                provided by Advertiser or authorized by Advertiser for dissemination in
                                the course of an Advertisement, including, but not limited to, a
                                campaign consisting of multiple media buys (multiple Advertisements
                                shall also collectively be called a "Campaign"),together with any
                                content or materials on any Network Properities, whether or not visible
                                 or otherwise apparent to a visitor.
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                        1.7    "Affiliate"   means, as to an entity, any other entity directly or
                          indirectly   controlling,     controlled   by, or under common control with, such
                          entity.

                        1.8    "Agency" means the advertising agency listed on the applicable          10
                         and/or MBA, where said agency is not MBuy.

                        1.9    "Agreement"        means the Terms, the 10 and, if applicable, the MBA.

                        1.10    "CPA DeLiverables·         means Deliverables sold on a cost per
                         acquisition     basis.

                         "CPC DeLiverables·           means Deliverables sold on a cost per click basis.

                        1.12    "CPL DeliverabLes"           means Deliverables sold on a cost per lead
                          basis.

                        1.13    "CPM DeLiverables·         means Deliverables sold on a cost per
                         thousand impression basis.

                        1.14    "Deliverable"      or "DeLiverables"    means the inventory delivered by
                          MBuy (e.g., impressions, clicks, or other desired actions).

                        1.15 "10" means a mutually agreed insertion order that incorporates
                         these Terms, under which MBuy will deliver Ads either as direct buys or
                         programmatic buying platforms for the benefit of Agency or Advertiser.

                        1.16 "Makegoods", where applicable, additional ad impressions which
                         are negotiated in order to make up for the shortfall of ads delivered
                         versus the commitments outlined in the approved insertion order.

                        1.17 "Network Properties" meanswebsites specified on an 10 and/or
                         MBAthat are not owned, operated, or controlled by MBuy, but on which
                         MBuy has a contractual right to serve Ads.

                        1.18 "Publlsher" An individual or organization that prepares,issues,and
                         disseminates content for public distribution or sale via one or more
                         media.

                        1.19 "Representative" means,as to an entity and/or its Affiliate(s), any
                         director, officer, employee, consultant, contractor, agent, and/or
                         attorney.

                        1.20 "Site" or "Sites" means any inventory purchased on behalf of
                         Agency or Advertiser, whether that be direct buys or programmatic
                         buying platforms or traditional media purchases.

                        1.21 "Third Party" means an entity or person that is not a party to an 10
                         and/or MBA;for purposes of clarity, MBuy,Agency, Advertiser, and any
                         Affiliates or Representativesof the foregoing are not Third Parties.

                        1.22 "Third Party Ad Server" meansa Third Party that will serve and/or
                         track Ads.

                        2. ORDERSAND INVENTORY POLICIES AND PROCEDURES
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                         2.1  10 Details. As applicable, each 10 submitted by Advertiser-
                          Agency/MBuy will specify: (a) the type(s} and amount(s} of Deliverables;
                          (b) the price(s} for such Deliverables; (c) the maximum amount of money
                          to be spent pursuant to the 10; (d) the start and end dates of the
                          campaign; and (e) the name and contact information for any Third Party
                          Ad Server. Advertiser-Agency/MBuy shall include in each 10 submitted
                          any reporting requirements (targeting, placements, destination URL,
                          impressions, etc.), any special Ad delivery scheduling, any Ad placement
                          requirements, any specifications concerning ownership of data collected,
                          and any other instructions or specifications that MBuy should consider
                          when purchasing media under said 10. Notwithstanding the foregoing,
                          MBuy has the right to collect and use aggregate data for its business
                          purposes.

                         2.2 Availability of Inventory. MBuy will make commercially reasonable
                           efforts to notify Advertiser-Agency/MBuy within two (2) business days of
                           receipt of an 10 signed by Advertiser-Agency/MBuy if the specified direct
                           or programmatic inventory is not available. Acceptance of the 10 and
                          these Terms will be deemed the earlier of (a) written approval of the 10
                           by MBuy and Agency (which, unless otherwise specified, for purposes of
                          these Terms, will include paper, fax, or e-mail communication), or (b) the
                           display of the first Ad impression by MBuy, unless otherwise agreed
                           upon in the 10.

                        2.3 Revisions.Revisionsto accepted lOs must be made in writing and
                         acknowledged by Advertiser-Agency/MBuy in writing before they
                         become binding.

                        3. AD MATERIALS

                        3.1 Submission of Ad Materials. Advertiser-Agency/MBuy will be
                         responsible for submitting all Advertising Materials to MBuy.

                        3.2 Acceptance of Advertising Materials. Acceptanceof all Advertising
                          Materials is subject to review and approval by MBuy and/or the Third-
                          Party Ad Serverand/or the Publisher. Unless an insertion order or
                          written instructions that clearly states which advertisement should run
                          is received by the Advertising Materials closing date for advertisements
                          under contract or unless specified in the Advertising Materials, the
                          previously run advertisement will be repeated. If no prior Advertisement
                          is available, MBuy will run a house advertisement and Advertiser will be
                          responsible for the cost of the original insertion order.

                        3.3 Specifications. These Terms and the 10 are final as to the size, shape,
                          color, length placement, and/or any other attributes of the
                          Advertisement Material(s} as set forth above. All changes thereafter
                          must be approved by MBuy by the Ad space closing deadline and a new
                          10 must be signed. MBuy will not be bound by any condition appearing
                          on 10/contracts or copy instructions submitted by or on behalf of the
                          Advertiser-Agency/MBuy, when such condition conflicts with the Terms
                          and is not signed by MBuy.
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                         3.4 Edits and Corrections. MBuy will use all Ads in strict compliance with
                          these Terms and any written         instructions   provided on the 10. However,
                          MBuy may, at its discretion, require edits or reject any Ad submitted by
                          Advertiser-Agency/MBuy        that it deems inappropriate     or that is
                          inconsistent with MBuy's mission and organizational           practice. Except as
                          provided in Section 3.6, MBuy will not edit or modify the submitted Ads
                          in any way, including, but not limited to, resizing the Ad, without
                          Advertiser-Agency/MBuy's        approval. This Agreement cannot be
                          invalidated     for typographical   errors, or incorrect insertions. Advertiser-
                          Agency/MBuy shall notify MBuy of such errors immediately.             Upon
                          notification,    errors will be corrected in the next available placement of
                          the Advertisement       that is agreed to and made in these Terms and the
                          applicable      10, provided the production timelines     allow for the insertion
                          of the corrected Advertising        Material. MBuy shall not be held liable to
                          the Advertiser-Agency/MBuy          for any loss that results from the incorrect
                          publication     of the Advertisement.     MBuy further reserves the right within
                          its discretion to reject or remove any Ads for which the Advertising
                          Materials, software code associated with the Advertising          Materials (e.g.
                          pixels, tags, JavaScript,etc.), or the website to which the Ad is linked do
                          not comply with these Terms or the terms of the Third-Party Ad Server
                          and/or the Publisher, or that in MBuy'ssole reasonablejudgment, do not
                          comply with any applicable law, regulation, or other judicial or
                          administrative order. In addition, MBuy reservesthe right within its
                          discretion to reject or remove from any Ads for which the Advertising
                          Materials or the website to which the Ad is linked are, or may tend to
                          bring, disparagement, ridicule, or scorn upon MBuy or any of its
                          Affiliates. If MBuy has reviewed and approved such Ads prior to their
                          use, MBuy will make commercially reasonable efforts to acquire
                          mutually acceptable alternative Advertising Materials from Advertiser-
                          Agency/MBuy.

                         3.5 Late Creative. If Advertising Materials are not received by the 10 start
                          date, MBuy will charge Advertiser-Agency/MBuy on a pro rata basisthe
                          fee specified on the 10, calculated based on the duration of the full
                          running of the 10, excluding portions consisting of performance-based,
                          non-guaranteed inventory, for each full day the Advertising Materials
                          are not received. If Advertising Materials are late based on the Policies,
                          MBuy is not required to guarantee full delivery of the 10. MBuy and
                          Agency will negotiate a resolution if MBuy has received all required
                          Advertising Materials in accordancewith Section 5.1 but fails to
                          commence a campaign on the 10 start date.

                         3.6 Ad Tags. Notwithstanding the foregoing, when applicable, Third Party
                          Ad Servertags will be implemented so that they are functional in all
                          aspects.

                         3.7 Advertising Material Deadline. All appropriate Advertising Material
                          must be provided in electronic format as outlined in the 2009 AASM
                          Media Guide with accompanying high resolution proof by the ad
                          materials deadline.
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                        3.8 Incorrect Ad Materials and Ad Runs. MBuy is not responsible for
                         incorrect ad materials run when Ad Materials or instructions     are not
                          received by the Ad MateriaL deadline. MBuy does not make corrections
                         to Ad artwork. ALLAd artwork must be submitted       in finaL format. MBuy
                         wiLL not be heLd responsibLe for incorrect ad sizes or incorrect copy in
                         artwork that is submitted from a previous pLacement. MBuy is not
                          responsibLe for clericaL errors, nor wiLL any credits be given for
                         advertising errors not reported after the first issue in which the ad is
                          published.

                        3.9 Ad PLacement. MBuy is not responsibLe for Ad pLacements near
                          competing products unless a prior agreement has been made in writing
                          between MBuy and Advertiser-Agency/MBuy.         MBuy is not responsibLe
                         for the finaL reproductive   quality of any materiaLs that do not meet the
                          defined specifications   of the vendor.

                        4. AD PLACEMENT AND POSITIONING

                        4.1 Compliance with 10. MBuy wiLLcomply with the 10, including aLLAd
                          pLacementrestrictions, and, wiLLcreate a reasonabLybalanced delivery
                          scheduLe.MBuy wiLLcomplete media buys and provide, within the scope
                          and specifications of the 10, and Ads on the Site specified on the 10 that
                         wiLLdispLaywhen such Site is visited by an Internet user or specific
                          audience. Any exceptions wiLLbe approved by Agency in writing.

                        4.2 Changesto Site(s).MBuy wiLLuse commercially reasonable efforts to
                          provide Advertiser-Agency/MBuy at Least10 business days prior
                          notification of any material changesto each Site that would materially
                          change the target audience or materially affect the size or pLacementof
                         the Ad specified on the applicabLe10 or, if MBuy does not receive
                          notification until after the foregoing described materiaLchange
                          occurred, MBuy will notify Advertiser-Agency/MBuy within 5 business
                          days of it being notified that the foregoing materiaLchange to a Site has
                          occurred. ShouLdsuch a modification occur after MBuy has provided
                          notice to Advertiser-Agency/MBuythat a materiaLchange is going to
                          occur to each Site, then Advertiser-Agency/MBuy's soLeremedy for such
                          change wiLLbe the right to canceLthe remainder of the affected
                          pLacementwithout penaLty,provided Advertiser-Agency/MBuy cancels
                          the affected placement within fiftteen (15) days of receipt of notice of
                          the material change from MBuy. If MBuy has failed to provide
                          Advertiser-Agency/MBuy with notification of a materiaLchange to each
                          Site before the materiaLchange to the Site(s)occurs,then Advertiser-
                          Agency/MBuy's soLeremedy wiLLbe the right to canceLthe affected
                          pLacementeffective the date of the materiaLchange to each Site,
                          provided Advertiser-Agency/MBuy canceLthe affected pLacementwithin
                          thirty (30) days of the modification of each Site taking effect.
                          Advertiser-Agency/MBuy will be entitled to a refund of any prepaid fees
                          based upon the effective date of cancellation of the affected Ad.

                         5. REpORTING
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                         5.1. Confirmation   of Campaign Initiation.   MBuy will, within two (2)
                          business days of the start date on the   la, provide confirmation to
                          Agency, either electronically or in writing, stating whether the
                          components of the 10 have begun delivery.

                         5.2 MBuy Reporting. If MBuy is serving/managing the campaign, MBuy
                          will make reporting available, either electronically or in writing, unless
                          otherwise specified on the 10. Reports may be broken out and
                          summarized by creative execution, content area (Ad placement),
                          impressions,clicks, spend, and other variables as may be defined on the
                          10 (e.g., keywords).

                        5.3. Makegoodsfor Reporting Failure. If Advertiser-Agency/MBuy informs
                         MBuy that it has delivered an incomplete or inaccurate report, or no
                         report at all, MBuy will have five (5) business days upon receipt of notice
                         to cure the deficiencies in the report ("Report Cure Period"). If MBuy fails
                         to deliver an accurate and complete report within the Report Cure
                         Period, Agency may initiate makegood discussions.

                        6. THIRD PARTY AD SERVING AND TRACKING (Only Applicable if
                         Third Party Ad Server is used)

                        6.1 Although MBuy uses commercially reasonable efforts to provide
                         Advertiser-Agency/MBuy with accurate and up-to-date reports on
                         Advertiser-Agency/MBuy'sad campaigns, MBuy is dependent upon third
                         parties (such as the Publishers)for components of the reports made
                         available to Advertiser-Agency/MBuy, and such third parties do not
                         always provide their reporting components to MBuy in a timely or error-
                         free manner. MBuy updates the reports made available to Advertiser-
                         Agency/MBuy via MBuy's platform several times a day; however
                         Advertiser-Agency/MBuy acknowledge that such reporting is not
                         provided to Advertiser-Agency/MBuy in real-time. To account for
                         corrections and updates that may be provided to MBuy by Publishers
                         from time-to-time, MBuy employs a 48 hour look-back period in which
                         MBuy may make adjustments or updates to Advertiser-Agency/MBuy's
                         reports. Therefore, reports will not be deemed final until 48 hours after
                         such reports are first made available to Advertiser-Agency/MBuy (Final
                         Reports),and Advertiser-Agency/MBuy should not rely on any reports
                         issued prior to the Final Reports.

                        7. FEES; INVOICES; PAYMENT (Advertiser-Agency,Advertiser-MBuy
                          and Publisher)

                        7.1 ~.    A completed and duly signed 10 guarantees advertising rates
                         for the period identified in the 10.

                        7.2 Planning Fees. If MBuy'sservices are requested for strategy/media
                         planning where no media execution occurs,an FTErate is applied, as
                         follows: Director+ at $12s/hour and Account Manager/Lead at
                         $80/hour.
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                        7.3   Payments from Advertiser-Agency      or Advertiser-MBuy.      Advertiser-
                         Agent/MBuy     is directly liable to both MBuy and the relevant advertising
                          medium/publisher    for the cost of and expenses related to all media buys
                         and related purchases. Unless alternate arrangements are agreed to in
                         writing,   payment to MBuy must be received in full prior to final media
                          placement. In the event Advertiser-Agency/MBuby        fails to make
                          payment, MBuy in its sole and absolute discretion may discontinue           or
                          suspend or cancel all advertising   or a particular advertising    campaign
                         from the Advertiser-Agency/MBuy       until payment is received in full.        For
                          accounts that are not prepay or for services or products provided that
                          were not prepaid, invoices will be sent by MBuy upon completion           of
                          and/or the delivery of the Deliverable, or within 30 days of completion
                          of the 10. Invoices will be sent to the billing address as set forth on the
                          10 and will include reference information    reasonably specified and
                          requested by Advertiser-Agency/MBuy.        For those accounts that are not
                          prepay accounts, Advertiser-Agency/MBuy       will make payment within 30
                          days from its receipt of each invoice ("Invoice Due Date"). Advertiser-
                          Agency will be responsible for the payment of all invoices by the Invoice
                          Due Date regardless of whether or not it has been paid by Advertiser.

                        7.4   Invoices to MBuy. Payment from MBuy for media invoices shall not
                          be due until after MBuy receives payment from the Advertiser-Agency              or
                          Advertiser-MBuy    for said media buy.

                        7.S   Application   of Payment. All payments received and/or paid through
                          or by MBuy shall be applied only to the designated MBuy purchase
                          order, regardless of whether or not Advertiser-Agency/MBuy          has a
                          previous outstanding   balance for one or more media buys or services.

                        8. CANCELLATION AND TERMINATION

                        8.1 Upon execution of the media buy between MBuy and the advertising
                         medium/publisher, MBuy has fully performed its obligation to purchase
                         media on behalf of Advertiser-Agency/MBuy.As the obligation has been
                         fulfilled at time of the media purchase,the payment cannot be
                         cancelled or refunded for any reason and Advertiser-Agency/MBuy
                         acknowledges that MBuy has performed its obligations in full.

                         8.2 Termination Without Cause.

                         8.2.1 By NBuy: MBuy may cancel this Agreement without causeand
                          without cost with 14 days' prior written notice to Advertiser-
                          Agency/MBuy.

                         8.2.2 By Advertiser-Aqency/Mtiuy:      Unless designated on the 10 as non-
                          cancelable, Advertiser may cancel the entire 10, or any portion thereof,
                          as follows: (a)with 14 days' prior written notice to MBuy,without
                          penalty, for any guaranteed Deliverable, including, but not limited to,
                          (PM Deliverables (for clarity and by way of example, if Advertiser-
                          Agent/MBuy cancels the guaranteed portions of the 10 eight (8) days
                          prior to serving of the first impression, Advertiser-Agent/MBuy will only
                          be responsible for the first six (6) days of those Deliverables); (b) with
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                          seven (7) days' prior written notice to MBuy, without   penalty, for any
                          non-guaranteed    Deliverable, including, but not limited to, CPC
                          Deliverables, CPL Deliverables, or CPA Deliverables, as well as some
                          non-guaranteed    CPM Deliverables; and (c) with 30 days' prior written
                          notice to MBuy, without   penalty, for any flat fee-based or fixed-
                          placement Deliverable, including, but not limited to, roadblocks, time-
                          based or share-of-voice   buys, and some types of cancelable
                          sponsorships.

                        8.2.3   Effect of Termination.   Advertiser-Agency/MBuy    will remain liable
                          to MBuy for amounts due for any custom content or development
                          ("Custom Material") provided to Advertiser-Agency/MBuy or
                          completed by MBuy or its third-party vendor prior to the effective date
                          of termination. For lOs that contemplate the provision or creation of
                          Custom Material, MBuy will specify the amounts due for such Custom
                          Material as a separate line item. Advertiser-Agency/MBuy will pay for
                          such Custom Material within 30 days from receiving an invoice
                          therefore.

                        8.3 Termination For Cause.

                        8.3.1 By Either Party. Either MBuy or Agency-Agent/MBuy may
                          terminate an 10 at any time if the other party is in material breach of its
                          obligations hereunder, which breach is not cured within 10 days after
                          receipt of written notice thereof from the non-breaching party, except as
                          otherwise stated in these Terms with regard to specific breaches.
                          Additionally, if Advertiser-Agency/MBuy breachesany of its obligations
                          under the Agreement three (3) times and receivestimely notice of each
                          such breach, even if Advertiser-Agency/MBuy cures each such breach,
                          MBuy may terminate the 10 or placements associated with such breach
                          upon written notice. If Agency- Advertiser/MBuy does not cure a
                          violation of the Agreement within the applicable 10-day cure period,
                          then MBuy may terminate the 10 and/or placements associated with
                          such breach upon written notice.

                         8.3.2 Effect of Termination. MBuy will be obligated to refund any
                           prepaid fees paid for any 10 or placements that were in violation of the
                           Agreement. Agency-Agent/MBuy will not be entitled to any refund of
                           prepaid fees and will be obligated to pay in full the fees for all lOs or
                           placements. Short rates will apply to cancelled buys to the degree
                           stated on the 10.

                         9. PROPRIETARYRIGHTS; INFORMATION; INTELLECTUAL PROPERTY
                           RIGHTS

                         9.1 Use of Data. Advertiser-Agency/MBuy has the right to use all data
                          derived from Advertiser-Agency's/MBuy'suse of the MBuy servicesfor
                          any legal purpose that complies with Advertiser-Agency's/MBuy'sown
                           privacy policy, provided that MBuy may use and disclose data derived
                          from Advertiser-Agency's/MBuy'suse of the MBuy services (a) as part of
                           its business operations, to disclose aggregate statistics about the MBuy
                          services in a manner that does not make available individual
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                          identification     of Advertiser-Agency/MBuy           information;     (b) to the extent
                          necessary to operate, manage, maintain and enhance any of the MBuy
                          services and to provide and launch new services; and (c) if required by
                          court order, law or governmental             agency. Without limiting       the generality
                          of the above, Advertiser-Agency/MBuy              understand that MBuy may use
                          information      derived from Advertiser-Agency's/MBuy's               use of the MBuy
                          services (such as the performance of a particular bid price) to enhance,
                          refine and improve the quality of the MBuy services and the MBuy
                          platform, and that the benefit of such enhancements, refinements
                          and/or improvements            will be shared with all MBuy customers.           For the
                          avoidance of doubt, MBuy will not disclose Advertiser-Agency/MBuy
                          specific information      to other MBuy customers. Rather, other MBuy
                          customers will receive the benefit of the learning what MBuy obtains
                          from information       derived from Advertiser-Agency/MBuys               use of the
                          MBuy services, just as Advertiser-Agency/MBuy                will receive the benefit
                          of the learning what MBuy obtains from information                    derived from use of
                          the MBuy serviced by other Advertiser-Agency/MBuys.

                        9.2   Privacy: Personally Identifiable          Information.    Advertiser-
                          Agency/MBuy agrees to comply with all applicable privacy laws and
                          regulations, and to post conspicuously            on each of Advertiser-
                          Agency/MBuy Websites, a privacy policy that: (a) describes how
                          Advertiser-Agency/M       Buy collects, uses, stores and discloses information
                          obtained from end users of Advertiser-Agency/MBuy                     Websites, and (b)
                          includes a prominent       mechanism (e.g. link) by which end users can opt-
                          out of the collection     of such information.         Advertiser-Agency/MBuy
                          further agrees to comply with such posted privacy policy. As part of such
                          privacy policy, Advertiser-Agency/MBuy             will disclose that Advertiser-
                          Agency/MBuy works with third parties for the delivery of advertisements
                          and such third parties may collect non-personally               identifiable
                          information      about end users who view the advertisements.                MBuy further
                          recommends that Advertiser-Agency/MBuy                  disclose that: (x) Advertiser-
                         Agency/MBuy uses pixels provided to Advertiser-Agency/MBuy                        by a third
                          party to track the number of end-user conversions obtained from
                         Advertiser-Agency/MBuy             advertising, and (y) a cookie provided to
                         Advertiser-Agency/MBuy             by a third party will be placed on the computer
                          of each end-user that clicks on an Advertisement               so that future
                         advertisements        can be targeted to that end-user based on the
                         advertisements        clicked on by that end-user.         MBuy shall not be liable for
                         any failure by Advertiser-Agency/M             Buy to make any required or
                          recommended disclosures. Advertiser-Agency/MBuy                   further agrees that,
                         to the extent personally identifiable            or other information       is collected
                         from or regarding end users of the Websites by Advertiser or Agency on
                         Advertiser's behalf, Advertiser and/or Agency will obtain all necessary
                          rights and consents from such end users related to the collection                   of such
                          information,     and will not merge such information           with non-personally
                          identifiable     information     without   obtaining    notice and consent in
                         accordance with best industry practices. Advertiser-Agency/MBuy                      further
                         agrees that Advertiser-Agency/MBuy               will not communicate         to MBuy any
                          personally identifiable        information    about any end user of the Websites.
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                         9.3   Ownership; MBuy Platform.          MBuy at its sole discretion and subject
                          to Advertiser-Agency/MBuy           compliance with the terms and conditions of
                          this Agreement, MBuy may grant to Advertiser-Agency/MBuy                 a non-
                          exclusive, nontransferable,         nonsublicensable   license to access and use,
                          by means of a web browser and unique password, the MBuy platform
                          solely in connection with accessing and generating customized
                          reporting related to Advertiser-Agency/MBuy            advertising   campaigns.
                          Advertiser-Agency/MBuy        acknowledges that the license set forth above
                          conveys no title or ownership rights to the MBuy platform. MBuy retains
                          all right, title and interest in and to the MBuy Services, the MBuy
                          platform, and all information         displayed within the MBuy platform,
                          including without     limitation,    all trademarks, service marks, logos and
                          content, together with all intellectual       property rights thereto.
                          Advertiser-Agency/MBuy        may not modify, reproduce, copy, reverse
                          engineer, decompile, reverse assemble or otherwise attempt to discover
                          the source code or algorithms         for the MBuy platform or the MBuy
                          services. Advertiser-Agency/MBuy          may not rent, sell, sublicense, assign,
                          or otherwise transfer Advertiser-Agency/MBuys            right to access and use
                          the MBuy platform or the MBuy services. Advertiser-Agency/MBuy
                          agrees that Advertiser-Agency/MBuy           will not use any device, software or
                          routine to interfere with the proper working of the MBuy platform or the
                          MBuy services. Advertiser-Agency/MBuy            further agrees that Advertiser-
                          Agency/MBuy will not use any automated means, including, without
                          limitation,   agent, robots, scripts or spiders to access Advertiser-
                          Agency/MBuy account or to monitor or copy the MBuy platform or the
                          MBuy services, or any component thereof.

                        9.4    Password; Access to MBuy Platform.          At MBuy's sole discretion, MBuy
                          may grant Advertiser-Agency/MBuy            a password to the MBuy platform,
                          which Advertiser-Agency/MBuy            will then be solely responsible for
                          maintaining    the confidentiality     of Advertiser-Agency/MBuy      user name
                          and password, and for all activities that occur under Advertiser-
                          Agency/MBuy user name and password. Advertiser-Agency/MBuy                    is
                          solely responsible for all third party access to Advertiser-Agency/MBuy
                          MBuy account by any person, whether authorized or not, unless
                          unauthorized      access was caused by MBuy's willful       misconduct or gross
                          negligence. If Advertiser-Agency/MBuy          becomes aware of any
                          unauthorized      use of Advertiser-Agency/MBuy        account or password,
                          Advertiser-Agency/MBuy        agrees to provide MBuy with written notice via
                          email to accounts@MBuy.com             as soon as possible so that MBuy can
                          suspend use of Advertiser-Agency/MBuy            account and password until a
                          new password is issued.

                        9.5    For the purpose of performing this Agreement, Advertiser-
                          Agency/MBuy hereby grants MBuy a limited, non-exclusive,               royalty-free,
                          world-wide     right and license to market, to use, market, display, publish,
                          perform, transmit distribute        and or authorize the use of any content,
                          marks, logos, trade dress or Advertising        Material for the purpose of
                          executing or performing the terms of this Agreement on its network or
                          any third-party    network or website(s) or throughout        the MBuy Inventory.
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                         9.6     Trademark Usage. MBuy, on the one hand, and Advertiser-
                          Agency/MBuy, on the other, will not use the other's trade name,
                          trademarks, logos, or Ads in any public announcement           (including, but
                          not limited to, in any press release) regarding the existence or content
                          of these Terms or any 10 without the other's prior written approval.
                               Neither party shall use, display, or modify the other party's logos,
                          trademarks or trade dress in any Advertisement         or any related
                          Advertising     Materials in any manner without the prior written consent of
                          the other party.

                        9.7      Advertiser-Agency/MBuy     will remain at all times the owner of its
                          Advertising     Materials and all intellectual   property rights therein, and
                          MBuy will not acquire any interest therein by reason of any this
                          Agreement.      These Terms do not affect or modify ownership interest in
                          Advertising     Materials between Advertiser and Agency.

                        9.8      Reservation of Rights. Each party reserves all rights not expressly
                          granted hereunder.

                        10. CONFIDENTIALITY.

                        10.1 Advertiser-Agency/MBuy will keep the existence and terms of any
                           I/O or MBA it enters into confidential and shall not publish any press
                          release or make any other public announcement with respect hereto
                          without the prior written consent of MBuy.Advertiser-Agency/MBuy will
                          not use any confidential information of MBuy, which includes the terms
                          of any I/O or MBA,except solely for the purposes contemplated by the
                          I/O or the MBA and will refrain from disclosing such confidential
                          information to any third party unless such disclosure is necessaryand
                          permitted in connection with Advertiser-Agency/MBuy's obligations or
                          exercise of its rights under this Agreement or otherwise by agreement
                          between the parties. If disclosure of such confidential information is
                          required by applicable law, Advertiser-Agency/MBuy and/or
                          Publisher/advertising medium will (a) promptly notify MBuy so as to
                          afford MBuy a reasonable opportunity to seek an order or other
                          appropriate relief for the protection of its confidential information from
                          any unauthorized use or disclosure, (b) cooperate with MBuy in any
                          effort it may wish to undertake to obtain such relief, and (c) only
                          disclose so much of such confidential information as it is advised by
                          counsel in writing is necessaryto comply with applicable law and avoid
                          sanctions. For purposes of this Agreement, "confidential information" is
                          any proprietary or confidential information of MBuy that is identified as
                          such by MBuy, or which Advertiser-Agency/MBuy should recognize by its
                          nature as likely to be such, including without limitation, the terms of
                          this Agreement (including pricing). The following information will not
                          be deemed confidential: (w) information that is already known to
                          Advertiser-Agency/MBuy, (x) information that is generally available to
                          the trade, (y) information that is received by Advertiser-Agency/MBuy
                          from another without any obligation to maintain its confidentiality, or (z)
                          information that is subsequently developed by Advertiser-Agency/MBuy
                          independent of confidential information belonging to the provider.
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                           Advertiser-Agency/MBuy    and will return or destroy such Confidential
                          Information   upon demand and otherwise upon expiration     of the terms of
                          this Agreement, or any I/O or MBA.

                         11.   REPRESENTATIONS AND WARRANTIES

                         11.1 Advertiser-Agency/MBuy Representations. Advertiser-Agency/MBuy
                           represents and warrants at all times that (a) Advertiser-Agency/MBuy
                           has all necessaryright, power and authority to enter into this
                          Agreement, or any I/O, and to grant the right and license to publish the
                          Advertisements and all related Advertising Materials set forth herein
                          pursuant to this Agreement, or any I/O, (b) the execution of this
                          Agreement, or any I/O by Advertiser-Agency, and the performance of its
                          obligations and duties hereunder, do not and will not violate any
                          agreement to which Advertiser-Agency/MBuy is a party or by which it is
                          otherwise bound; (c) the links contained in any Advertisement or
                          Campaign are directed to the intended and agreed upon destination; (d)
                          the Advertisements are accurate and complete, and are supported by
                          competent and reliable prior substantiation in advance of their
                          publication and dissemination, and are in compliance with all applicable
                          federal, state, and local laws regarding deceptive trade practices, fair
                          competition and consumer protection; (e)the Advertisements, the use
                          and display thereof, and the content linked to and from the
                          Advertisements, do not and will not: (i) infringe or violate the patents,
                          copyrights, trademarks, rights of publicity, music performance or other
                          music-related rights, or any other right of any third party, (ii) be
                          misrepresentative, libelous, defamatory, or obscene, (iii) violate any
                          applicable law or regulation, or (iv) advertise any unlawful product or
                          service or the unlawful sale of any product or service; and (f) Advertiser-
                          Agency/MBuy has the authority to authorize MBuy to act as its agent for
                          the purpose of placing media buys or any other action required under
                          any agreement between MBuy and Advertiser-Agency/MBuy.

                        11.2 MBuy Representations. MBuy makes no representation or warranty,
                         express or implied, with respect to the subject matter hereof, including
                         without limitation any media buys, Advertisement, Advertising Materials,
                         the Network Properites, any Leadsor their respective business practices,
                         and expressly disclaims the implied warranties of merchantability or
                         fitness for a particular use. In particular, and without limitation, MBuy
                         makes no representation or warranty with respect to the quality or
                         responsivenessof any Advertisement or any media buy.

                        11.3 Designation as Agent. Advertiser-Agency/MBuy designates and
                         authorizes MBuy to act as its agent for the purpose of bidding on
                         inventory, placing media buys or Advertisements on its behalf, and any
                         other related purchasesand performing all other actions required under
                         any agreement between MBuy and Advertiser-Agency/MBuy. Advertiser-
                         Agency/MBuy shall be deemed the principal for all such purchases.

                        12.    LIMITATION OF LIABILITY; DISCLAIMER; INDEMNIFICATION
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                         12.1 Lost Profits. Incidental and Consequential Damages. NEITHER
                          PARTY SHALL BE LIABLE FOR ANY LOST PROFITS OR SPECIAL,
                          INDIRECT, EXEMPLARY, CONSEQUENTIAL OR PUNITIVE DAMAGES,
                          EVEN IF SUCH DAMAGES ARE FORESEEABLEAND WHETHER OR NOT
                          THE OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
                          DAMAGES.

                         12.2 MBuy Limitation of Liability. EXCEPTAS IT RELATESTO MBUY'S
                          INDEMNIFICATION OBLIGATIONS, MBUY'S ENTIRE LIABILITY
                          HEREUNDER (OTHER THAN FOR THE PAYMENT OF FEES)SHALL IN ALL
                          EVENTS BE LIMITED TO AN AMOUNT NOT TO EXCEEDTHE AMOUNT
                          ACTUALLY PAID BY ADVERTISER-AGENCY/MBUY IN THE SIX (6)
                          MONTHS PRIOR TO THE EVENT GIVING RISE TO A CLAIM.

                         12.3 Adyertiser-Agency/MBuy Limitation of Liability. EXCEPTAS IT
                          RELATESTO ADVERTISER-AGENCY'S/MBUY'S CONFIDENTIALITY AND
                          INDEMNIFICATION OBLIGATIONS AND EXCEPT FOR THE AMOUNTS
                          OWED ON UNPAID INVOICES, ADVERTISER-AGENCY,/MBUY'S ENTIRE
                          LIABILITY HEREUNDER (OTHER THAN FOR THE PAYMENT OF FEES)
                          SHALL IN ALL EVENTS BE LIMITED TO AN AMOUNT NOT TO EXCEED
                          THE AMOUNT OWED BY ADVERTISER-AGENCY/MBUY IN THE SIX (6)
                          MONTHS PRIOR TO THE EVENT GIVING RISE TO A CLAIM.

                        12.4 Disclaimer of Warranties. EXCEPT AS EXPRESSLYSET FORTH IN
                         THIS AGREEMENT, MBUY DOES NOT MAKE, AND IT SPECIFICALLY
                         DISCLAIMS, ANY AND ALL REPRESENTATIONS OR WARRANTIES,
                         EXPRESSOR IMPLIED, INCLUDING WITHOUT LIMITATION THE IMPLIED
                         WARRANTIES OF MERCHANTABILITY OR FITNESS FOR USE

                        12.5 Advertiser-Agency/MBuy shall indemnify, defend and hold harmless
                          MBuy and its affiliates, successors and assigns, and the members,
                          shareholders, officers, directors, agents, distributors, franchisees and
                         employees ("Released Parties") of any of them, from and against any and
                         all liabilities, losses, expenses, damages and costs (including, without
                          limitation, reasonable attorney's fees) that may at any time or from time
                         to time be incurred by any of the Released Parties by reason of any third
                         party claims, suits, actions, causes of action or proceedings arising out of
                         any breach by the Advertiser-Agency/MBuy of any representation or
                         warranty or other term or condition hereunder or, as a result of the
                         products and services advertised in the Campaigns and the offer, sale,
                         delivery, use and disposal thereof. Advertiser-Agency/MBuy shall defend
                         any such claim, etc. with counsel of its choice, reasonably acceptable to
                         the other party, which other party will reasonably cooperate in the
                         defense of any such claim.

                        13. MISCELLANEOUS

                        13.1 Insurance. Advertiser-Agency/MBuy shall at all times maintain
                         insurance in at least the minimum amounts and coverages as are
                         standard in its industry.
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                         13.2 Entire Agreement. This Agreement, along with the executed I/O
                          and/or MBA, sets forth the entire agreement between Advertiser-
                          Agency/MBuy and MBuy and publisher/advertising               medium and MBuy
                          with respect to the subject matter hereof, and supersedes any and all
                          prior agreements, understandings          or undertakings   with respect thereto.
                          If an advertising agency, broker or other intermediary          signs an I/O or
                          MBA on behalf of Advertiser-Agency/MBuy,           the agency thereby
                          represents and warrants that it has full authority to bind Advertiser-
                          Agency/MBuy to the terms of this Agreement and that it will ensure that
                          Advertiser-Agency/MBuy         complies with all such terms.

                          13.3 Assignment. Neither Advertiser-Agency/MBuy,             nor
                          publisher/advertising      medium shall make any assignment of this
                          Agreement, or any of its rights, benefits or obligations           hereunder
                          (including, without     limitation,   by way of merger or consolidation),
                          without the prior written consent of MBuy and any purported
                          assignment in violation      hereof shall be void. In the event of a permitted
                          assignment, this Agreement shall be fully binding upon, inure to the
                          benefit of and be enforceable by the parties hereto and Advertiser-
                          Agency/MBuy's      successors and assigns.

                         13.4   Governing Law and Venue. Any agreements between MBuy and
                          Advertiser-Agency/MBuy         and between MBuy and publisher/advertising
                          medium shall be governed by the laws of the State of Illinois, without
                          giving effect to any principles that may provide for the application           of
                          the laws of another jurisdiction.      The parties hereby consent to the
                          jurisdiction   of the state and federal courts located in Cook County,
                          Illinois, with respect to any claim arising under or by reason of this
                          Agreement. The Parties will not prosecute any action, suit, proceeding or
                          claim arising under or by reason of this Agreement except in such
                          courts.

                        13.5    Force Majeure. No party shall be responsible for any delay or failure
                          to perform hereunder by reason of any technical failure or errors,
                          network disruption,     labor shortage or difficulty,    act of god, war or civil
                          disorder, governmental       act or any other thing beyond its reasonable
                          control.

                        13.6    ~.       Any notice required or permitted to be given to MBuy or
                          Advertiser-Agency/MBuy        or publisher/advertising      medium shall be in
                          writing and shall be delivered by courier to the contact person for that
                          party specified on the I/O or MBA or, if none, the person signing the I/O
                          on behalf of the party. All notices to MBuy shall be delivered to 444
                          North Michigan Avenue Chicago, IL 60611, and to Advertiser-
                          Agency/MBuy at the address specified in the I/O or MBA, if none
                          specified, then to the last known address of the Advertiser-
                          Agency/MBuy.

                        13.7    Revisions. MBuy reserves the right to modify, amend or revise the
                          Terms and Conditions at any time without          notice. It is Advertiser-
                          Agency/MBuy's     and/or publisher/Advertiser-Agency/MBuy
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                                          medium/vendor's      responsibility   to review the Terms and Conditions
                                          periodically    in order to stay current on any modifications,   amendments
                                          or revisions.

                                        13.8    Conflicts In the event of any inconsistency     between the terms of an
                                          10 and these Terms, the terms of the 10 will prevail, if executed by
                                          MBuy.

                                        13.9    Headings. Section or paragraph headings used in these Terms are
                                          for reference purposes only, and should not be used in the interpretation
                                          hereof.

                                        13.10     Attorney's Fees' Costs. The prevailing    party will be entitled to
                                          recover its reasonable attorney's fees and costs associated with any
                                          dispute involving or that arises out of this Agreement.

                                        13.11   Survival. Sections 7-13 will survive termination      or expiration   of
                                          these Terms .




•
CHICAGOHEADQUARTERS
                                                                  First Name'



                                                                  Last Name'



120 South Riverside PLzSuite 1900 Chicago, IL 60606 US            JobTitle'

NEW YORK
45 West 18th Street, New York, NY 10011 US
                                                                  CompanyName'

LOSANGELES
12100 WiLshire BLvd, Suite 720, Los AngeLes, CA 90025 US
                                                                  EmailAddress'


COPYRIGHT © 2019 MBUY
                                                                  CompanyWebsite(Optional)
MBuy is a Mediaocean company
PRIVACY POLICY I CONTACT
FIND US ON: FACEBOOK I TWITTER I LlNKEDIN                         PhoneNumber'



                                                                 Any personal information you choose to share with us via this
                                                                 website will be handled in accordance with our privacypolicy.




                                                                  Submit
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      EXHIBIT D
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                                                 Mutual Business Agreement                                                                                Marshall Rule
                                                                                                                                                             ScotteVest
120 S. Riverside Plaza, Suite 1900
                                                                                                                                                         411 East 6th St
Chicago, IL 60606
                                                                                                                                                     Ketchum, ID 83340
Phone: 312 784 2336
                                                                                                                                                          386-909-8378
Secure Fax: 312 870 1787
                                                                                                                                                    www.scottevest.com
www.mbuy.com                                                     Presented by: Rachel Stone

1. Getting Started: The purpose of this agreement is to clearly establish the roles and responsibilities of the parties involved in the planning, negotiation, and
purchasing of media inventory. To optimize and analyze your media buys for maximized results, MBuy will leverage its proprietary tools, technology, processes, and
expertise to perform single source market analysis, negotiation(s), rate preparations and media purchases for ScotteVest (the “Advertiser”).

2. Mutual Non-Disclosure & Confidentiality Agreement: Both parties agree that all information shared, including but not limited to: pricing proposals, insertion
orders, posting reports and other deliverables are deemed confidential and may not be disclosed to any third party for a period of (24) months after the expiration of
the term of this agreement. MBuy will not disclose specific unit rates.

3. Term: The initial term of this authorization agreement will commence on 1/1/2019 and continue until 12/31/2019 (the “Term”).

4. What We Do - MBuy Technology Platform Value: Upon execution of this agreement, MBuy will provide access, via a dedicated MBuy account representative, to
our proprietary Managed Media Services & Technology Platform including, but not limited to: optimized media negotiation and buying services, strategic media
planning, market rate analysis, ongoing placement, execution, trafficking and stewardship of campaigns, a single point of accountability for all media types,
consolidated billing and ROI reporting.

5. Working Together - Advertiser Responsibilities: Advertiser agrees to work with MBuy to communicate advertising campaign goals, key performance indicators,
vendor selection, and overall marketing objectives. In order to receive actionable and optimized media plans and rate preparations from MBuy, the Advertiser agrees
to provide relevant current and/or historical media unit rates and budgets for purposes of rate analysis and buy optimization. To ensure optimum results and to
secure available inventory and MBuy rates, the Advertiser must sign and return an approved insertion order via our certified secure electronic signature service (i.e.,
Docusign) within 48 hours of receipt. If MBuy’s services are requested for media strategy & planning and no media execution occurs, a FTE rate is applied and the
Advertiser agrees to pay MBuy as follows: Director at $125/hour and Account Manager/Media Analyst at $80/hour
           5A: Fees-
                MBuy will take a reduced margin of 15% (vs. 20%) on the planning and placement of digital media with the exception of SEM at 18%
                MBUY will charge a reduced margin of 12.5% on the planning and placement of traditional media

6. Payment – Unless alternate arrangements are made and agreed to in writing by MBuy, media placement will be executed and implemented only upon Advertiser
payment. In the event Advertiser fails to make payment, MBuy may discontinue all advertising from the Advertiser until payment is received in full based on available
cancellation terms. In the case of Network media or OOH, it is non-cancellable. Advertiser agrees to pay for media via check, electronic funds transfer, money order,
cashier’s check, or dedicated Advertiser escrow. MBuy shall only be liable for payments of media invoices if MBuy has been paid for those invoices by the Advertiser.
MBuy will invoice Advertiser for all media costs, where possible, in advance of MBuy's payment date to allow for prompt prepayment by the Advertiser so that
Advertiser may receive the benefit of any additionally available prepayment or similar discounts. Rate or billing adjustments shall be credited or charged to Advertiser
on the next following regular invoice date or as soon as otherwise practical. All new media purchased by MBuy on behalf of Advertiser during the term of this
Agreement will be MBuy Rates.


7. Planning Allocations - Current & Future Media Spending:

              Media Types                             Campaign Flight                              Market(s)                               Addressable Budget

                   All                        January 2019 – December 2019                          National                               ~$5,000,000(apprx)



9. What Comes Next? Insertion Order: A sample insertion order document can be provided for review as part of this agreement.

10. Entire Agreement: This document contains the entire agreement of both parties and supersedes all prior written or verbal discussions or agreements.


I understand and agree to the terms of the Mutual Business Agreement.


_____________________________            1/8/19
                                      ______________________                                _____________________________ ______________________
Advertiser/ Agency Signature          Date                                                  MBuy Signature                Date


  Marshall Rule                         SCOTTeVEST
Advertiser/Agency Name                 Advertiser/Agency Company                             MBuy Name                             Title
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   EXHIBIT E
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                                                                                                                                        120 S. Riverside Plaza, Suite 1900
                                                                                                                                                       Chicago, IL, 60606
                                                                                                                                                      Direct 312.334.2872
                                                                                                                                                         Fax 312.870.1780
                                                                                                                                                   Insertion ID: Q-07506-1
                                                             MBuy Insertion Order
                                                                   FOR IMMEDIATE ACTION
                                                                                                                                                   Advertiser PO Number:
     Advertiser Information                                                                    Billing Information
     Advertiser Name:ScotteVest                                                                Billing Name:ScotteVest
     Street Address:411 East 6th Street                                                        Street address:411 East 6th Street
     PO Box 1915                                                                               PO Box 1915
     City, State, Zip:Ketchum, Idaho, 83340                                                    City, State, Zip:Ketchum, Idaho, 83340


        Media Type      Media Description      Geography     Flight Start Date   Flight End Date                               Notes                                Media Cost

           Social       Social Video - FB/IG    National         1/1/2019          1/31/2019                                                                       USD 8,000.00

           Social         Product Catalog       National         1/1/2019          1/31/2019                                                                       USD 16,000.00

          Display          Prospecting,         National         1/1/2019          1/31/2019                                                                       USD 30,000.00
                           Contextual,
                           Remarketing

           Search          Google/Bing          National         1/1/2019          1/31/2019                                                                       USD 31,000.00

         Direct Buys       Amazon AMS           National         1/1/2019          1/31/2019                                                                       USD 30,000.00

                                                                                                                                               Total Media Cost:    USD 115,000.00
                                                                                                                                                                                     Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 38 of 44 PageID #:1




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                                                                                                                                                              120 S. Riverside Plaza, Suite 1900
                                                                                                                                                                             Chicago, IL, 60606
                                                                                                                                                                            Direct 312.334.2872
                                                                                                                                                                               Fax 312.870.1780
                                                                                                                                                                         Insertion ID: Q-07506-1
    INSERTION ORDER TERMS

    General Placement Guidelines & Limitations of Liability
    MBuy is not responsible for incorrect ad materials run when ad materials or instructions are not received by the ad material deadline. MBuy does not make corrections to ad creative. All ad creative
    must be submitted in final format. MBuy will not be held responsible for incorrect and/or invalid creative materials that are submitted from a previous placement. This agreement, along with the mutually
    signed Mutual Business Agreement and terms and conditions at www.mbuy.com/tc, which are incorporated by reference, contain the entire agreement of the parties and supersedes all prior discussions,
    agreements and undertakings between the parties with respect to the subject matter hereof; this Insertion Order supersedes inconsistent terms in the terms and conditions.


    Materials provided by the Advertiser to MBuy in relation to the provision of these Services do not include any personal data (as defined in the European General Data Protection Regulation) and MBuy
    does not act as a processor on behalf of the Advertiser in respect of any personal data. In cases where Advertiser requires MBuy to process personal data, Advertiser shall provide instructions to MBuy in
    writing and enter into a separate agreement regarding the processing of personal data.

    Mutual Non-Disclosure & Confidentiality Agreement
    Both parties agree all Insertion Order specific information shared, including but not limited to: rates, discounts, and/or other deliverables are deemed confidential and may not be disclosed to any third
    party.


    Payment Terms
    Payment to MBuy must be received by the payment terms selected below. In the event Advertiser and/or Advertiser Agency (collectively, “Advertiser-Purchaser”), as the case may be, fails to make
    payment, MBuy may discontinue all Ads until payment is received in full. A completed and signed Insertion Order constitutes a binding agreement between Advertiser-Purchaser and MBuy and shall
    guarantee advertising rates for the period identified in this document. Upon execution of the media buy between MBuy and the media vendor(s)/Publisher, MBuy has fully performed its obligation to
    purchase media on behalf of the customer. By signing the Agreement the Advertiser-Purchaser agrees to all conditions stated in this Insertion Order, as well as the terms and conditions available at
    www.mbuy.com/tc (the “TC”). The Advertiser-Purchaser acknowledges and understands: (i) MBuy will not and shall not be required to make any payments on behalf of the Advertiser-Purchaser until
    MBuy receives all funds payable and/or due to it and (ii) fees owed to MBuy directly will be paid first and the remainder of the funds will be used to make payments on behalf of the Advertiser-Purchaser
    for the media costs. All capitalized terms used in this Insertion Order and not otherwise defined herein shall have the meaning ascribed to them in the TC.

    Agreement to Terms
    The signature & date below constitutes acceptance of the terms of this Insertion Order and the individual signing represents and warrants that he/she has authority to sign this Insertion Order on behalf of
    the above listed Advertiser and, if applicable, the Advertiser-Agency.


    PAYMENT INFORMATION

    Net 30: Due following invoice date.

    ACH                                                                  Wire Transfer                                                         Check
    Account Name: Mediaocean LLC                                         Account Name: Mediaocean LLC                                          Mediaocean LLC
                                                                                                                                                                                                                    Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 39 of 44 PageID #:1




    Routing #: 021000021                                                 Routing #: 021000021                                                  PO Box 28139
    Account #: 448661897                                                 Swift Code: Chasus33                                                  New York, NY 10087-8139
                                                                         Account #: 448661897


                                                                                                     Page 2 of 3
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    Insertion Order and Payment Authorization:
    Signed By                                                     /sn/
    Signed Date                                                   Marshall Rule
                                                                  /sd/
    Signature                                                     1/2/2019
                                                                  /sig/
                                                                                  Case: 1:19-cv-02465 Document #: 1 Filed: 04/11/19 Page 40 of 44 PageID #:1




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    EXHIBIT F
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                                                                                                      MBUY
                                                                                                      120 S Riverside Plaza
                                                                                                      Suite 1900
                                                                                                      Chicago, IL 60606
                                                                                                      Tel +1 312 870 1700
                                                                                                      email: mbuybillings@mbuy.com


ScotteVest
411 East 6th Street
PO Box 1915
Ketchum, Idaho 83340




Invoice Date                1/11/2019
Due Date                    2/10/2019
Invoice Number             US-13170-SI


Billing Period    December 2018


Description                                                            Amount

Display                                                              $79,301.36

Search                                                               $86,705.22

Social                                                               $19,803.15

Video                                                                $10,000.00

Native                                                               $13,957.38

Direct Buy                                                            $9,924.77


                                                     Total Due:      $219,691.88




Please remit payment to:                 JPMorgan Chase Bank, N.A.                 MBUY
                                         Account # 448661897                       P.O. Box 28139
                                         Routing # 021000021                       NEW YORK, NY, 10087-8139
                                         Swift Code CHASUS33
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   EXHIBIT G
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                                                                                                      MBUY
                                                                                                      120 S Riverside Plaza
                                                                                                      Suite 1900
                                                                                                      Chicago, IL 60606
                                                                                                      Tel +1 312 870 1700
                                                                                                      email: mbuybillings@mbuy.com


ScotteVest
411 East 6th Street
PO Box 1915
Ketchum, Idaho 83340




Invoice Date                2/14/2019
Due Date                     3/1/2019
Invoice Number             US-13542-SI


Billing Period    January 2019


Description                                                            Amount

Display                                                              $30,579.98

Search                                                               $47,653.42

Social                                                               $25,717.71

Native                                                                 $341.10


                                                     Total Due:      $104,292.21




Please remit payment to:                 JPMorgan Chase Bank, N.A.                 MBUY
                                         Account # 448661897                       P.O. Box 28139
                                         Routing # 021000021                       NEW YORK, NY, 10087-8139
                                         Swift Code CHASUS33
